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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JASON ZELLER,

 Plaintiff,                                       CASE NO.: 8:18-CV-01762-VMC-JSS

-vs-

UBER TECHNOLOGIES, INC.,

 Defendant.
                                     /


               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Jason Zeller, and the Defendant, Uber Technologies, Inc.,

and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each

claim and count therein asserted by Plaintiff against the Defendant in the above styled action,

with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

       Respectfully submitted this 7th day of September, 2018.

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